                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


UNITED STATES OF AMERICA                              )
                                                      )         Case No. 1:11-cr-100
v.                                                    )
                                                      )         COLLIER / LEE
JAMES SMILEY                                          )


                             REPORT AND RECOMMENDATION


       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on January 6, 2012.

At the hearing, defendant waived his right to prosecution by indictment and consented to proceeding

on information rather than indictment, and entered a plea of guilty to Count One of the One-Count

Bill of Information pursuant to a written plea agreement. I find defendant made a knowing and

voluntary waiver of indictment and consent to proceed before the magistrate judge. On the basis

of the record made at the hearing, I find the defendant is fully capable and competent to enter an

informed plea; the plea is made knowingly and with full understanding of each of the rights waived

by defendant; the plea is made voluntarily and free from any force, threats, or promises; apart from

the promises in the plea agreement; the defendant understands the nature of the charge and penalties

provided by law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s plea of guilty to Count One of the Bill of

Information be accepted, and the Court adjudicate defendant guilty of the charges set forth in Count

One of the Bill of Information, and a decision on whether to accept the plea agreement be deferred

until sentencing. Defendant has been released on bond under appropriate conditions of release

pending sentencing in this matter without objection. Acceptance of the plea, adjudication of guilt,



Case 1:11-cr-00100-CLC-SKL           Document 22          Filed 01/09/12    Page 1 of 2     PageID
                                           #: 57
acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

judge.



                                               s/fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE



                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




Case 1:11-cr-00100-CLC-SKL            Document 22        Filed 01/09/12      Page 2 of 2       PageID
                                            #: 58
